Case 3:07-cv-01836-CFD Document 1 Filed 12/12/07 Page 1 of 11
Case 3:07-cv-01836-CFD Document 1 Filed 12/12/07 Page 2 of 11
Case 3:07-cv-01836-CFD Document 1 Filed 12/12/07 Page 3 of 11
Case 3:07-cv-01836-CFD Document 1 Filed 12/12/07 Page 4 of 11
Case 3:07-cv-01836-CFD Document 1 Filed 12/12/07 Page 5 of 11
Case 3:07-cv-01836-CFD Document 1 Filed 12/12/07 Page 6 of 11
Case 3:07-cv-01836-CFD Document 1 Filed 12/12/07 Page 7 of 11
Case 3:07-cv-01836-CFD Document 1 Filed 12/12/07 Page 8 of 11
Case 3:07-cv-01836-CFD Document 1 Filed 12/12/07 Page 9 of 11
Case 3:07-cv-01836-CFD Document 1 Filed 12/12/07 Page 10 of 11
Case 3:07-cv-01836-CFD Document 1 Filed 12/12/07 Page 11 of 11
